
66 So. 3d 407 (2011)
Telacy Augusta ALLEN, Appellant,
v.
STATE of Florida, Appellee.
No. 1D11-0486.
District Court of Appeal of Florida, First District.
August 4, 2011.
Nancy A. Daniels, Public Defender, and Joel Arnold, Assistant Public Defender, Tallahassee, for Appellant.
Pamela Jo Bondi, Attorney General, and Jennifer J. Moore, Assistant Attorney General, Tallahassee, for Appellee.
PER CURIAM.
The judgment of contempt and ensuing sentence are reversed. See J.A.H. v. State, 20 So. 3d 425, 428 (Fla. 1st DCA 2009); O'Neal v. State, 501 So. 2d 98, 100 (Fla. 1st DCA 1987).
BENTON, C.J., ROBERTS, and RAY, JJ., concur.
